Case 2:04-cr-20453-SH|\/| Document 36 Filed 06/15/05 Page 1 of 2 Page|D 43

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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CLEHK, SVTNSL CT
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UN:TED sTATES oF AMERICA
Plaintiff,
vS. CR. No. 04-20453-»3’/\44.

MARVIN DAVIS
Defendant.

"-’*-/-._.-*-"v‘-*'--#V-»»

 

oRDER oN CHANGE oF PLEA
AND SETTING

 

 

This cause came on to be heard on June 14, 2005, the United States
Attorney for this district, Katrina U. Earleyr appearing' for the
Government and the defendant, Marvin Davis, appearing in person and with
counsel, Randolph W. Alden, Who represented the defendant.

With leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy Was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, AUGUST 23, 2005, at
9:00 A.M., in Courtroom No. 2, on the llth floor before Judge Samuel H.
Mays, Jr.

Defendant is remanded to the custody of the U. S. Marshal.

ENTER.ED this the ‘L{)Aiay of June, 2005.

tia/wm

SAMUEL H. MA`YS, JR.
UNITED STA.'I‘ES DISTRICT COURT

 

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June 15, 2005 to the parties listed.

 

 

Randolph W. Alden

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Honorable Samuel Mays
US DISTRICT COURT

